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                                                                                          E-FILED
                                                                Thursday, 05 July, 2012 01:05:20 PM
                                                                      Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD DIVISION

BEVERLY THROGMORTON, DELORES                       )
HENRY, and PATRICIA PHILLIPS, on behalf            )
of themselves and class of others similarly        )
situated,                                          )
                                                   )
                             Plaintiffs            )
                                                   )
       v.                                          )      No. 12-3087
                                                   )
RUSSELL REYNOLDS, et al.,                          )
                                                   )
                             Defendants.           )

                      ANSWER TO FIRST AMENDED COMPLAINT

       NOW COME the Defendants, RUSSELL REYNOLDS, RUSSELL CRAIG, KIM

JOHNSON, CARLITA EDMONSON, PETER LEONETTI, BENNY DALLAS, MONICA

SLATER, TROY DAW DY, PAUL PFEIFFER, DOMINIQUE CRUDUP, and ABRAHAM

ANDERSON, by and through their attorney, Lisa Madigan, Attorney General for the State of

Illinois, and hereby submit Defendants’ Answer to Plaintiff’s First Amended Complaint. In

support thereof, Defendants state as follows:

                                          INTRODUCTION

       1.     Defendants admit the allegations are as stated by Plaintiffs Defendants deny

Plaintiffs have any meritorious claims in either law or fact.

       2.     Defendants admit that Housing Units 2 and 4 were shaken down and the

offenders were required to be strip searched. Defendants admit that inmates were required

to wait in the gymnasium while other offenders were taken in small groups to be strip

searched by Logan Correctional staff and IDOC trainees. Defendants deny the remaining

allegations contained in this paragraph.

       3.     Denied.
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       4.     Defendants admit that trainees participated in the search but deny there was

not a legitimate penological purpose for the search independent of trainee participation.

Defendants deny the remaining allegations contained in this paragraph.

       5.     Denied.

       6.     Defendants lack sufficient knowledge to admit or deny Plaintiffs’ motivations

for filing this case. Defendants deny the allegations.

       7.     Defendants admit that jurisdiction is proper over claims brought for violations

of the United States Constitution pursuant to 42 U.S.C. §1983.             Defendants deny

supplemental jurisdiction exists over Plaintiff’s state-law claims.

       8.     Admitted.

                                          PARTIES

       9.     Defendants admit that Plaintiff Throgmorton is approximately 46 years old,

resides in Decatur, and was housed in 2B at Lincoln Correctional Center on March 31, 2011.

Defendants deny the remaining allegations contained in this paragraph.

       10.    Defendants admit that Plaintiff Henry is approximately 56 years old, is currently

in custody of IDOC at Lincoln, and was housed in unit 2B at Lincoln on March 31, 2011.

Defendants deny the remaining allegations contained in this paragraph.

       11.    Defendants admit that Plaintiff Phillips is approximately 44 years old and was

housed in unit 2B at Lincoln on March 31, 2011. Defendants deny the remaining allegations

contained in this paragraph.

       12.    Defendants admit that Lincoln is a medium security facility that houses

approximately 1,000 female offenders.         Defendants deny the remaining allegations

contained in this paragraph.


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       13.     Defendants admit Defendants Edmonson, Johnson, Leonetti, Dowdy, Pfeiffer,

Craig, and Slater were members of the tactical unit at Lincoln and acted under color of law

at all relevant times.

       14.     Defendants admit Defendants Dallas, Anderson, and Crudup were employed

at Lincoln on March 31, 2011, and acted under color of law at all relevant times. Defendants

that Defendant Dallas held the rank of officer.

       15.     Admitted.

       16.     Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       17.     Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

                           Facts Relating to the Named Plaintiffs

       18.     Denied.

       19.     Denied.

       20.     Denied.

       21.     Denied.

       22.     Denied.

       23.     Defendants admit that part of the procedure for strip searching requires

inmates to remove tampons and discard them in a garbage can. Defendants deny the

remaining allegations contained in this paragraph.

       24.     Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks. Defendants deny the

remaining allegations contained in this paragraph.


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       25.    Defendants deny the bathroom was unsanitary.

       26.    Defendants admit that women who were menstruating at the time of the strip

search were not given tampons afterwards; they were given pads. Defendants deny the

remaining allegations contained in this paragraph.

       27.    Defendants lack sufficient knowledge to either admit or deny the allegations

contained in this paragraph.

       28.    Denied.

       29.    Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks and that if Plaintiff was

strip searched, she would have been required to comply. Defendants deny the remaining

allegations contained in this paragraph.

       30.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       31.    Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks and that if Plaintiff was

strip searched, she would have been required to comply. Defendants deny the remaining

allegations contained in this paragraph.

       32.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       33.    Defendants admit that those subject to the search were required to remain in

the gymnasium until all searches were completed. Defendants lack sufficient knowledge to

admit or deny the remaining allegations.

       34.    Denied.


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       35.    Denied.

       36.    Denied.

       37.    Denied.

       38.    Denied.

                                    Class Allegations

       39.    Admitted.

       40.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       41.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       42.    Denied.

       43.    Denied.

       44.    Denied.

       45.    Denied.

       46.    Denied.

     Count I—Claims Pursuant to 42 U.S.C. §1983 Violations of the Fourth and
                          Fourteenth Amendments

       47.    Defendants incorporate by reference as if fully set forth herein their answers

to the foregoing paragraphs.

       48.    Denied.

       49.    Denied.

       50.    Denied.

Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of action.



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    Count II—Claims Pursuant to 42 U.S.C. §1983 Violations Eighth Amendment

       51.     Defendants incorporate by reference as if fully set forth herein their answers

to the foregoing paragraphs.

       52.     Denied.

       53.     Denied.

       54.     Denied.

       55.     Denied.

Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of action.

                                       Prayers for Relief

       Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of action.

                                     Affirmative Defenses

       1.      To the extent Defendants are sued in their individual capacities, at all times

relevant herein, Defendants acted in good faith in the performance of his official duties and

without violating Plaintiff’s clearly established statutory or constitutional rights of which a

reasonable person would have known. Defendants are therefore protected from suit by the

doctrine of qualified immunity.

       2.      Plaintiffs have to exhaust their administrative remedies as is required prior to

filing suit under 42 U.S.C. 1983 by the Prison Litigation Reform Act (42 U.S.C. 1997) and

Perez v. Wisconsin Dept. of Corrections, 182 F.3d 532 (7 th Cir. 1999).

       3.      Defendants were performing official discretionary duties in good faith and as

such are entitled to Public Official Immunity from individual liability related to Plaintiffs’ state

law claims. People ex. rel. Scott v. Briceland, 359 N.E.2d 149, 65 Ill.2d 485 (1977); Larson

v. Darnell, 448 N.E.2d 249, 113 Ill.App.3d 975 (1983).


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       4.     Defendants’ interaction with Plaintiffs leading to this cause of action was

entirely the result of Defendants’ employment with the State of Illinois. Suits for torts against

the State of Illinois are barred from prosecution in state courts by sovereign immunity and

may only be brought in the Court of Claims. 745 ILCS 5/1; 705 ILCS 505/8(d).

                                     Respectfully submitted,

                                     RUSSELL REYNOLDS, RUSSELL CRAIG, KIM
                                     JOHNSON, CARLITA EDMONSON, PETER LEONETTI,
                                     BENNY DALLAS, MONICA SLATER, TROY DAW DY,
                                     PAUL PFEIFFER, DOMINIQUE CRUDUP, and
                                     ABRAHAM ANDERSON,

                                            Defendants,

                                     LISA MADIGAN, Attorney General
                                     of the State of Illinois,

                                            Attorney for Defendants.

                                     By: s/Christopher L. Higgerson
                                           Christopher L. Higgerson, #6256085
                                           Assistant Attorney General
                                           500 South Second Street
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                                           E-mail: chiggerson@atg.state.il.us




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 5, 2012, I electronically filed Defendants’ Answer to First

Amended Complaint with the Clerk of Court using the CM/ECF system which will send

notification of such filing to the following:

               Michael I Kanovitz                      Arthur R. Loevy
               mike@loevy.com                          loevylaw@loevy.com

               Jonathan I. Loevy                       Daniel Moore Twetten
               jon@loevy.com                           dan@loevy.com

and I hereby certify that on July 5, 2012, I mailed by United States Postal Service, the

document to the following non-registered participant:

                                                none

                                      Respectfully submitted,

                                      By: s/Christopher L. Higgerson
                                            Christopher L. Higgerson
                                            Attorney for Defendants
                                            Office of the Attorney General
                                            500 South Second Street
                                            Springfield, IL 62706
                                            Telephone: (217) 782-5819
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                                            chiggerson@atg.state.il.us
